Case 2:21-cv-00356-CJC-DFM Document 1 Filed 01/14/21 Page 1 of 19 Page ID #:1




  1 Jordan Susman, Esq. (SBN 246116)
      jsusman@nolanheimann.com
  2 Margo Arnold, Esq. (SBN 278288)
      marnold@nolanheimann.com
  3 NOLAN HEIMANN LLP
      16133 Ventura Boulevard, Suite 820
  4 Encino, California 91436
      Telephone: (818) 574-5710
  5 Facsimile: (818) 574-5689
  6 Attorneys for Plaintiff Garrapata, LLC
  7                       UNITED STATES DISTRICT COURT
  8                      CENTRAL DISTRICT OF CALIFORNIA
  9 GARRAPATA, LLC, a California limited ) Case No.:
 10 liability company,                   )
                  Plaintiff,                     )   COMPLAINT FOR DAMAGES
 11           vs.                                )
 12                                              )   1. VIOLATION OF CALIFORNIA
      NOROK INNOVATION, INC. a Florida )                 CIVIL CODE SECTION 3344;
 13   corporation; ERIC POPOWICZ, an             )   2. VIOLATION OF COMMON LAW
 14   individual; THUNDERCOM SYSTEMS )                   RIGHT OF PUBLICITY;
      LTD, a Cypriot limited company; COLIN )        3. FALSE ENDORSEMENT
 15   ANDREWS aka SIMON                          )      UNDER THE LANHAM ACT
 16   THUNDERCOM, an individual; BIZX            )      (15 U.S.C. § 1125(A));
      MARKETING, LLC, a Florida limited          )   4. TRADEMARK INFRINGEMENT
 17   liability company; AZ CONNECTIONS, )              (15 U.S.C. § 1114(1)(A));
 18   LLC, an Arizona limited liability company; )   5. COMMON LAW TRADEMARK
      JEFF TAYLOR, an individual; DOES 1- )             INFRINGEMENT
 19
      30, inclusive,                             )   6. CONTRIBUTORY TRADEMARK
 20                Defendants.                   )      INFRINGEMENT
                                                 )
 21
                                                 )
 22                                              )   DEMAND FOR JURY TRIAL
                                                 )
 23
                                                 )
 24                                              )
                                                 )
 25
                                                 )
 26                                              )
                                                 )
 27
                                                 )
 28
                                               -1-
                                           COMPLAINT
Case 2:21-cv-00356-CJC-DFM Document 1 Filed 01/14/21 Page 2 of 19 Page ID #:2




  1        Plaintiff Garrapata, LLC, by and through its undersigned attorneys, alleges
  2 upon knowledge as to itself and its own acts and alleges upon information and belief

  3 as to all other matters, brings this Complaint.

  4                                   INTRODUCTION
  5        1.     For more than 60 years, Clint Eastwood has been one of the most
  6 famous actors, producers, and directors in the world. Mr. Eastwood is fiercely

  7 protective of his name and image, and has rarely licensed either for the promotion of

  8 products outside of the movies he acted in or directed. Like many of his most

  9 famous characters, Mr. Eastwood is not afraid to confront wrongdoing and hold

 10 accountable those that try to illegally profit off his name. Indeed, Mr. Eastwood

 11 previously litigated and won a jury trial against the National Enquirer, which was

 12 affirmed on appeal, after the tabloid falsely claimed to have exclusively interviewed

 13 Mr. Eastwood and misappropriated his name, likeness, and personality to promote

 14 and sell its product.

 15        2.     This action arises from an online Internet scam that illegally uses Mr.
 16 Eastwood’s celebrity and name to drive traffic to an online marketplace selling

 17 cannabidiol (“CBD”) products and to promote CBD products thereon. Put simply,

 18 without Mr. Eastwood’s knowledge of permission, online retailers of CBD products

 19 strategically place Mr. Eastwood’s name within blog posts and webpage meta

 20 descriptions (content that describes and summarizes the contents of a given webpage

 21 for the benefit of users and search engines to locate) as a means to promote CBD

 22 products and guide customers to an online marketplace that sells CBD products.

 23        3.     The unlawful actions by the defendants amount to a willful and
 24 conscious disregard for Mr. Eastwood’s rights and are intentionally designed to

 25 capitalize on the goodwill, recognition, and fame associated with Mr. Eastwood.

 26        4.     By this action, Garrapata LLC, the holder of all relevant rights in Mr.
 27 Eastwood’s name and persona, seeks to hold accountable the persons and entities

 28
                                               -2-
                                           COMPLAINT
Case 2:21-cv-00356-CJC-DFM Document 1 Filed 01/14/21 Page 3 of 19 Page ID #:3




  1 that wrongfully crafted this scheme and illegally profited off of Mr. Eastwood’s

  2 name to promote and sell CBD products.

  3                                        PARTIES
  4        5.     Plaintiff Garrapata, LLC (“Garrapata”) is a California limited liability
  5 company with its principal place of business in Los Angeles County, California. By

  6 assignment from Mr. Eastwood, Garrapata holds all trademarks related to Mr.

  7 Eastwood and Mr. Eastwood’s name and persona rights apart from those he grants in

  8 connection with the promotion and exploitation of the films he makes.

  9        6.     Defendant Norok Innovation, Inc. (“Norok”) is a Florida corporation
 10 with its principal place of business in Los Angeles, California. It is the

 11 manufacturer, distributor and seller of CBD products called Terahemp.

 12        7.     Defendant Eric Popowicz is an individual and resident of Los Angeles
 13 County, California. He is the CEO of Norok and was a principal of Norok

 14 Innovation, LLC, which was a manufacturer, distributor and seller of Terahemp. At

 15 all relevant times discussed herein, Norok was the alter ego of Popowicz, and there

 16 exists, and at all times herein mentioned has existed, a unity of interest and

 17 ownership between and among Norok and Popowicz such that any separateness has

 18 ceased to exist. Norok and Popowicz have commingled personal and corporate

 19 funds, and Popowicz has used corporate assets for personal uses. Norok has

 20 disregarded necessary legal formalities that corporate entities must follow, and

 21 Popowicz uses in an attempt to evade liability for his own unlawful actions. In

 22 particular, although Norok’s principal place of business is in Los Angeles County,

 23 and Popowicz is a resident of Los Angeles County, Norok is not licensed to do

 24 business in California. Consequently, adherence to the fiction of the separate

 25 existence of Norok Innovation, Inc. as an entity distinct from Popowicz would

 26 permit an abuse of the corporate privilege and would sanction fraud and promote

 27 injustice in that the acts alleged herein were the result of Norok Innovation, Inc.’s

 28
                                                -3-
                                            COMPLAINT
Case 2:21-cv-00356-CJC-DFM Document 1 Filed 01/14/21 Page 4 of 19 Page ID #:4




  1 acts, however, Popowicz benefitted from the acts alleged herein.

  2        8.     Defendant Thundercom Systems Ltd. (“Thundercom Systems”) is a
  3 Cyprus limited company with its principal place of business in Cyprus.

  4        9.     Defendant Colin Andrews aka Simon Thundercom (“Andrews”) is an
  5 individual and resident of Cyprus. He is the Director of Thundercom Systems.

  6        10.    Defendant BizX Marketing, LLC (“BizX Marketing”) is a Florida
  7 limited liability company with its principal place of business in Dade County,

  8 Florida.

  9        11.    Defendant AZ Connections, LLC (“AZ Connections”) is an Arizona
 10 limited liability company with its principal place of business in Maricopa County,

 11 Arizona.

 12        12.    Defendant Jeff Taylor (“Taylor”) is an individual and resident of
 13 Maricopa County, Arizona. He is the principal of AZ Connections.

 14        13.    Garrapata is unaware of the true names and capacities of defendants,
 15 whether individual, corporate, associate, or otherwise, named herein as Does 1

 16 through 30, inclusive, and therefore sues said defendants by such fictitious names

 17 (the “Doe Defendants”). Garrapata will seek leave to amend this Complaint to state

 18 when their true names and capacities are ascertained. (All of the Defendants,

 19 including the Doe Defendants, collectively are referred to herein as “Defendants”).

 20        14.    At all times mentioned in this Complaint, all of the Defendants acted in
 21 concert to knowingly cause, facilitate, control, induce, or otherwise participate in the

 22 wrongful conduct alleged herein.

 23                            JURISDICTION AND VENUE
 24        15.    The Court has original jurisdiction pursuant to 28 U.S.C. §§ 1331 and
 25 1338(a). This is a civil action arising under federal law, the Lanham Act of 1946 as

 26 amended (codified at 15 U.S.C. §§ 1051, et seq.). The pendent state law claims are so

 27 related to the federal claims that they form part of the same case or controversy

 28
                                                -4-
                                           COMPLAINT
Case 2:21-cv-00356-CJC-DFM Document 1 Filed 01/14/21 Page 5 of 19 Page ID #:5




  1 pursuant to Article III of the United States Constitution. The Court therefore has

  2 supplemental jurisdiction over those claims pursuant to 28 U.S.C. § 1367(a).

  3        16.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)
  4 for several independent reasons, including: at least one of the Defendants “resides”

  5 in this judicial district for venue purposes under 28 U.S.C. § 1391(c)(2); a

  6 substantial part of the events or omissions giving rise to the claims occurred in this

  7 district.

  8                             GENERAL ALLEGATIONS
  9                                     Clint Eastwood
 10        17.    Clint Eastwood is recognized around the world as an icon of the
 11 entertainment industry. After rising to fame in the 1950s as the star of the TV series

 12 Rawhide, Mr. Eastwood became one of the world’s biggest movie stars with his roles

 13 as the “Man With No Name” in a series of Westerns in the late 1960s and the Dirty

 14 Harry films of the 1970s and 80s. In 1971, Mr. Eastwood directed his first of more

 15 than 30 motion pictures, including the Academy Award winning Best Pictures

 16 Unforgiven (1992) and Million Dollar Baby (2004). In addition to his successful

 17 career in the entertainment industry, Mr. Eastwood served as the mayor of Carmel-

 18 by-the-Sea in the late-1980s. In 2006, Mr. Eastwood was inducted into the California

 19 Hall of Fame located at The California Museum for History, Women, and the Arts.

 20 According to fellow Academy Award winner Sean Penn, Mr. Eastwood “has become

 21 cinema’s Mount Rushmore . . . [and] the embodiment of American film.”

 22        18.    Mr. Eastwood has a long-standing history of rejecting third party
 23 licenses. With rare exception, Mr. Eastwood reserves the exploitation of his

 24 personality rights and the goodwill associated therewith for his motion pictures and

 25 other entertainment related projects, and for business ventures in which he is

 26 personally involved.

 27        19.    Mr. Eastwood does not have, and never has had, any association with the
 28
                                                -5-
                                           COMPLAINT
Case 2:21-cv-00356-CJC-DFM Document 1 Filed 01/14/21 Page 6 of 19 Page ID #:6




  1 manufacture, promotion, and/or sale of any CBD products.

  2   Defendants Use Clint Eastwood’s Names In Hidden Metatags To Advertise And
  3                                   Sell CBD Products
  4        20.    The Internet is a global network of interconnected computers which
  5 allows individuals and organizations around the world to communicate and to share

  6 information with one another.

  7        21.    Each web page has a corresponding domain address, which is an
  8 identifier somewhat analogous to a telephone number or street address. Domain

  9 names consist of a second-level domain—simply a term or series of terms—followed

 10 by a top-level domain, many of which describe the nature of the enterprise.

 11        22.    Search engines like Google look for keywords in places such as domain
 12 names, actual text on the web page, and metatags. Metatags are Hypertext Markup

 13 Language (“HTML”) code intended to describe the contents of the web site. There

 14 are different types of metatags, including “description” and “keyword” metatags. The

 15 description metatags are intended to describe the web site; the keyword metatags, at

 16 least in theory, contain keywords relating to the contents of the web site. Metatags

 17 function behind the scenes to direct an internet searcher to a webpage. “Using

 18 another’s trademark in one’s metatags is much like posting a sign with another’s

 19 trademark in front of one’s store.” Brookfield Commc'ns, Inc. v. W. Coast Entm't

 20 Corp., 174 F.3d 1036, 1064 (9th Cir. 1999).

 21        23.    Among the top results of an online search for “Clint Eastwood CBD” is
 22 a website for online-cbd-shop.com, with the search result “clint eastwood cbd

 23 products – bio cbn drugs.” Below and attached hereto as Exhibit 1 is a true and

 24 correct image of page 2 of such a Google search.

 25

 26

 27

 28
                                               -6-
                                           COMPLAINT
Case 2:21-cv-00356-CJC-DFM Document 1 Filed 01/14/21 Page 7 of 19 Page ID #:7




  1

  2

  3

  4

  5

  6

  7

  8

  9

 10

 11

 12

 13

 14

 15        24.    When one clicks on the link for online-cbd-shop.com in the online
 16 search results, it takes the consumer to an online CBD marketplace called CBD

 17 Online with a list and photographs of what it touts as “61 PRODUCTS FOUND FOR

 18 ‘CLINT EASTWOOD CBD PRODUCTS.’” Below and attached hereto as Exhibit 2

 19 is a true and correct image of page 1 of the webpage for online-cbd-shop.com that

 20 one arrives at after clicking on the search result.

 21

 22

 23

 24

 25

 26

 27

 28
                                                -7-
                                            COMPLAINT
Case 2:21-cv-00356-CJC-DFM Document 1 Filed 01/14/21 Page 8 of 19 Page ID #:8




  1

  2

  3

  4

  5

  6

  7

  8

  9

 10

 11

 12

 13        25.   The CBD products advertised and sold at the CBD Online marketplace
 14 based upon a Google search for “Mr. Eastwood CBD” include Terahemp, Natural

 15 Stress Solutions, and Nature’s Way Creating Better Days (“Nature’s Way”).

 16        26.   By using Mr. Eastwood’s name in hidden metatags, Defendants have
 17 figuratively posted a sign with Mr. Eastwood’s trademark in front of their online

 18 store to attract consumers and caused the consuming public to believe that Mr.

 19 Eastwood is associated with and/or endorsed the CBD Online marketplace and/or the

 20 CBD products sold thereon, when no such association actually exists.

 21 Defendants Conspire To Illegally Profit From Their Misuse Of Clint Eastwood’s

 22                      Name To Promote And Sell CBD Products
 23        27.   Defendant Thundercom Systems, though its principal, Defendant Colin
 24 Andrews aka Simon Thundercom (“Andrews”), has contacted several manufacturers

 25 of CBD products about selling their CBD products online.

 26        28.   Thundercom Systems subsequently opened drop shipping accounts with
 27 the manufacturers through which Thundercom Systems marketed and sold the

 28
                                              -8-
                                          COMPLAINT
Case 2:21-cv-00356-CJC-DFM Document 1 Filed 01/14/21 Page 9 of 19 Page ID #:9




  1 manufacturers’ products on its websites. When Thundercom Systems received orders

  2 for CBD products, Andrews would send the manufacturers a CSV file with the

  3 customers’ names, addresses, and order details. The manufacturers would then fill

  4 the orders and ship them directly from its facility to the customers.

  5        29.    In at least one instance, Thundercom Systems deposited $1,500 with a
  6 manufacturer as an advance against anticipated future sales. Once the manufacturer

  7 received and filled an order, it would subtract the charge of each product ordered

  8 from Thundercom System’s deposit account. Thundercom Systems periodically

  9 replenished the deposit account when it ran low.

 10        30.    Payments to the manufacturers did not come directly from Thundercom
 11 Systems or Andrews. Instead, payments were made by Defendant BizX Marketing

 12 through a Chase Bank account in Florida.

 13        31.    In early 2019 Defendant Jeff Taylor, the principal at Defendant AZ
 14 Connections contacted a manufacturer of CBD products. Taylor stated that he works

 15 with Andrews and he needed information from the manufacturer in order to have a

 16 U.S. company (Defendant AZ Connections) market and sell CBD products in the

 17 United States and thereby avoid banking fees for international transfers.

 18        32.    Although several CBD manufacturers whose products appeared on
 19 online-cbd-shop.com voluntarily provided the foregoing information, defendants

 20 Norok and Popowicz refused to provide any information to establish their innocence,

 21 despite requests for same.

 22                              FIRST CLAIM FOR RELIEF
 23      (Violation of Cal. Civ. Code § 3344 – Garrapata Against All Defendants)
 24        33.    Garrapata incorporates all prior allegations of this Complaint by this
 25 reference.

 26        34.    Garrapata is the owner of the rights of publicity in Mr. Eastwood’s
 27 name, image, likeness, and persona for all purposes, other than those related to the

 28
                                               -9-
                                           COMPLAINT
Case 2:21-cv-00356-CJC-DFM Document 1 Filed 01/14/21 Page 10 of 19 Page ID #:10




   1 promotion and exploitation of the motion pictures Mr. Eastwood makes.

   2         35.   Defendants have willfully and without authorization used Mr.
   3 Eastwood’s name for commercial purposes to promote the sale of CBD products.

   4 Defendants, and each of them, shared a common plan to use Mr. Eastwood’s name

   5 for commercial purposes to promote the sale of CBD products.

   6         36.   Defendants, and each of them, were necessary parts of the distribution
   7 chain. Specifically, Thundercom Systems and Andrews controlled and managed the

   8 domain and online marketplaces that used Mr. Eastwood’s name to promote and sell

   9 products, Norok and Popowicz provided CBD products, BizX Marketing provided

  10 domestic banking services, and AZ Connections and Taylor provided domestic

  11 marketing and banking services.

  12         37.   Andrews on behalf of Thundercom Systems, and Taylor on behalf of AZ
  13 Connections, authorized, directed, and/or participated in the illegal actions described

  14 herein.

  15         38.   Defendants’ unauthorized use of Mr. Eastwood’s name constitutes a
  16 commercial misappropriation in violation of Section 3344 of the California Civil

  17 Code.

  18         39.   As a direct and proximate result of Defendants’ wrongful conduct,
  19 Garrapata has suffered, and will continue to suffer, damages in an amount to be

  20 proven at trial.

  21         40.   Defendants have further been unjustly enriched by their
  22 misappropriation of Mr. Eastwood’s statutory right of publicity. Accordingly,

  23 Garrapata is entitled to restitution of all income, profits, and other benefits resulting

  24 from Defendants’ conduct, in an amount to be determined according to proof at trial.

  25         41.   Defendants’ actions as alleged herein were malicious, oppressive, and
  26 fraudulent, and done with the intent to injure Mr. Eastwood and with a willful and

  27 conscious disregard for Mr. Eastwood’s rights. As a result, Garrapata is entitled to

  28
                                                 -10-
                                             COMPLAINT
Case 2:21-cv-00356-CJC-DFM Document 1 Filed 01/14/21 Page 11 of 19 Page ID #:11




   1 recover from Defendants punitive and exemplary damages in an amount sufficient to

   2 punish and deter them and others from engaging in such acts in the future.

   3                              SECOND CLAIM FOR RELIEF
   4       (Violation of Common Law Right of Publicity – Garrapata Against All
   5                                       Defendants)
   6        42.    Garrapata incorporates all prior allegations of this Complaint by this
   7 reference.

   8        43.    Garrapata is the owner of the common law rights of publicity in Mr.
   9 Eastwood’s name, image, likeness, and persona necessary for endorsement deals.

  10        44.    Defendants have willfully and without authorization used Mr.
  11 Eastwood’s name for commercial purposes to promote the sale of CBD products.

  12        45.    Defendants, and each of them, shared a common plan to use Mr.
  13 Eastwood’s name for commercial purposes to promote the sale of CBD products.

  14        46.    As described herein, Defendants, and each of them, were necessary parts
  15 of the distribution chain.

  16        47.    Andrews on behalf of Thundercom Systems, and Taylor on behalf of AZ
  17 Connections, authorized, directed, and/or participated in the illegal actions described

  18 herein.

  19        48.    Defendants’ unauthorized use of Mr. Eastwood’s name constitutes a
  20 violation of California’s common law right of publicity.

  21        49.    As a direct and proximate result of Defendants’ wrongful conduct,
  22 Garrapata has suffered, and will continue to suffer, damages in an amount to be

  23 proven at trial.

  24        50.    Defendants have further been unjustly enriched by their infringement of
  25 Mr. Eastwood’s common law right of publicity. Accordingly, Garrapata is entitled to

  26 restitution of all income, profits, and other benefits resulting from Defendants’

  27 conduct, in an amount to be determined according to proof at trial.

  28
                                                -11-
                                            COMPLAINT
Case 2:21-cv-00356-CJC-DFM Document 1 Filed 01/14/21 Page 12 of 19 Page ID #:12




   1        51.    Defendants’ actions as alleged above were malicious, oppressive, and
   2 fraudulent, and done with the intent to injure Mr. Eastwood and with a willful and

   3 conscious disregard for Mr. Eastwood’s rights. As a result, Garrapata is entitled to

   4 recover from Defendants punitive and exemplary damages in an amount sufficient to

   5 punish and deter Defendants and others from engaging in such acts in the future.

   6                              THIRD CLAIM FOR RELIEF
   7   (False Endorsement (15 U.S.C. § 1125(a)) – Garrapata Against All Defendants)
   8        52.    Garrapata incorporates all prior allegations of this Complaint by this
   9 reference.

  10        53.    Garrapata is the owner of the statutory and common law rights
  11 associated with Mr. Eastwood’s name, image, likeness, and persona necessary for

  12 endorsement deals, including Mr. Eastwood’s right to decide whether to associate

  13 Mr. Eastwood’s name, image, likeness, or persona with any third party for purposes

  14 relating to sponsorship and/or endorsement.

  15        54.    Defendants used distinctive attributes of Mr. Eastwood’s persona, in
  16 particular his name, without permission to manipulate internet searches and make it

  17 appear as though Mr. Eastwood is associated with the products sold by Defendants

  18 online, when, in fact, he is not associated with such products. Defendants, and each

  19 of them, shared a common plan to use Mr. Eastwood’s name without permission to

  20 manipulate internet searches and make it appear as though Mr. Eastwood is

  21 associated with the products sold by Defendants online.

  22        55.    As described herein, Defendants, and each of them, were necessary parts
  23 of the distribution chain.

  24        56.    Andrews on behalf of Thundercom Systems, and Taylor on behalf of AZ
  25 Connections, authorized, directed, and/or participated in the illegal actions described

  26 herein.

  27        57.    Defendants’ unauthorized uses of Mr. Eastwood’s persona constitute
  28
                                                -12-
                                            COMPLAINT
Case 2:21-cv-00356-CJC-DFM Document 1 Filed 01/14/21 Page 13 of 19 Page ID #:13




   1 false or misleading representations of fact to falsely imply the endorsement of

   2 Defendants’ businesses and products by Mr. Eastwood.

   3        58.   Defendants’ unauthorized uses of Mr. Eastwood’s persona are likely to
   4 confuse and deceive consumers as to Mr. Eastwood’s sponsorship and/or

   5 endorsement of CBD products sold by Defendants online. Specifically, Defendants’

   6 use of Mr. Eastwood’s name is likely to cause consumers to mistakenly believe that

   7 Mr. Eastwood is associated with the products sold by Defendants, or that he sponsors

   8 or endorses the such products.

   9        59.   As a direct and proximate result of the acts of false endorsement set
  10 forth above, Garrapata has suffered actual damages in an amount to be proven at trial.

  11        60.   Garrapata is entitled to the full range of relief available under the
  12 Lanham Act, 15 U.S.C. § 1117, including, without limitation, an award of actual

  13 damages and the disgorgement of Defendants’ profits arising from their false or

  14 misleading acts.

  15        61.   Defendants’ conduct further renders this an “exceptional” case within
  16 the meaning of the Lanham Act, thus entitling Garrapata to an award of attorneys’

  17 fees and costs.

  18        62.   Defendants committed the unauthorized acts described above knowing
  19 that they are likely to cause consumers to falsely believe that Mr. Eastwood endorses

  20 Defendants’ brands and products. Defendants have thus willfully, knowingly, and

  21 maliciously deceived and confused the relevant consuming public, such that

  22 Garrapata is entitled to an award of treble damages.

  23                           FOURTH CLAIM FOR RELIEF
  24      (Trademark Infringement (15 U.S.C. § 1114(1)) – Garrapata Against All
  25                                       Defendants)
  26        63.   Garrapata incorporates all prior allegations of this Complaint by this
  27 reference.

  28
                                                -13-
                                            COMPLAINT
Case 2:21-cv-00356-CJC-DFM Document 1 Filed 01/14/21 Page 14 of 19 Page ID #:14




   1        64.    Garrapata has selectively used the trademark CLINT EASTWOOD in
   2 commerce in connection with products and services.

   3        65.    Garrapata owns a federally registered trademark U.S. Registration No.
   4 3265483 in Mr. Eastwood’s name for “Entertainment services, namely, personal

   5 appearances and live performance and live recorded performances by a movie star

   6 and actor” (the “Registered Mark”). A true and correct copy of Garrapata’s

   7 Trademark Certificate from the United States Patent and Trademark Office is

   8 attached hereto as Exhibit 3.

   9        66.    The Registered Mark is a valid trademark owned by Garrapata.
  10 Additionally, by virtue of Mr. Eastwood’s longstanding and continuous use of the

  11 Registered Mark in commerce, Garrapata has acquired a valid common law

  12 trademark in Mr. Eastwood’s name. The public has come to recognize the Registered

  13 Mark as exclusively identifying Mr. Eastwood, and the mark is famous worldwide.

  14        67.    Defendants infringed Garrapata’s registered and common law
  15 trademarks by using the mark on the internet to direct consumers to CBD Online,

  16 which is owned and/or maintained by Defendants. Defendants, and each of them,

  17 shared a common plan to infringe Garrapata’s registered and common law

  18 trademarks as described herein.

  19        68.    Defendants’ unauthorized use of Garrapata’s registered and common
  20 law trademarks are likely to confuse and deceive consumers as to the origin,

  21 sponsorship, and/or endorsement of CBD products marketed and sold by Defendants.

  22 Specifically, Defendants’ use of Mr. Eastwood’s name and mark is likely to cause

  23 consumers to mistakenly believe that Mr. Eastwood is associated with Defendants, or

  24 that he sponsors or endorses the CBD Online marketplace.

  25        69.    As described herein, Defendants, and each of them, were necessary parts
  26 of the distribution chain.

  27        70.    Andrews on behalf of Thundercom Systems, and Taylor on behalf of AZ
  28
                                              -14-
                                           COMPLAINT
Case 2:21-cv-00356-CJC-DFM Document 1 Filed 01/14/21 Page 15 of 19 Page ID #:15




   1 Connections, authorized, directed, and/or participated in the illegal actions described

   2 herein.

   3          71.   As a direct and proximate result of the acts of trademark infringement
   4 set forth above, Garrapata has suffered actual damages in an amount to be proven at

   5 trial.

   6          72.   Garrapata is entitled to the full range of relief available under the
   7 Lanham Act, 15 U.S.C. § 1117, including, without limitation, an award of actual

   8 damages and the disgorgement of Defendants’ profits arising from the acts of

   9 trademark infringement.

  10          73.   Defendants’ conduct further renders this an “exceptional” case within
  11 the meaning of the Lanham Act, thus entitling Garrapata to an award of attorneys’

  12 fees and costs.

  13          74.   Defendants committed the infringement described above knowing that
  14 their unauthorized use of the CLINT EASTWOOD trademark is likely to cause

  15 consumer confusion. Defendants have thus willfully, knowingly, and maliciously

  16 deceived and confused the relevant consuming public, such that Garrapata is entitled

  17 to an award of treble damages.

  18                              FIFTH CLAIM FOR RELIEF
  19   (Common Law Trademark Infringement – Garrapata Against All Defendants)
  20          75.   Garrapata incorporates all prior allegations of this Complaint by this
  21 reference.

  22          76.   Garrapata owns a valid common law trademarks in CLINT
  23 EASTWOOD for use in connection with the promotion of products and services in

  24 the entertainment industry.

  25          77.   The Registered Trademark is likewise a valid trademark owned by
  26 Garrapata.

  27          78.   The public has come to recognize the CLINT EASTWOOD mark as
  28
                                                  -15-
                                              COMPLAINT
Case 2:21-cv-00356-CJC-DFM Document 1 Filed 01/14/21 Page 16 of 19 Page ID #:16




   1 exclusively identifying Mr. Eastwood, and the mark is famous worldwide.

   2          79.   Defendants have infringed Garrapata’s trademark by using the mark on
   3 the internet to direct consumers to CBD Online, which is owned and/or maintained

   4 by Defendants, and to promote the sale of CBD products. Defendants, and each of

   5 them, shared a common plan to infringe Garrapata’s trademark as described herein.

   6          80.   As described herein, Defendants, and each of them, were necessary parts
   7 of the distribution chain.

   8          81.   Andrews on behalf of Thundercom Systems, and Taylor on behalf of AZ
   9 Connections, authorized, directed, and/or participated in the illegal actions described

  10 herein.

  11          82.   Defendants’ unauthorized use of Garrapata’s trademark is likely to
  12 confuse and deceive consumers as to the origin, sponsorship, and/or endorsement of

  13 Defendants’ brands and products. Specifically, Defendants’ use of Garrapata’s mark

  14 is likely to cause consumers to mistakenly believe that Mr. Eastwood is associated

  15 with Defendants and/or that he sponsors or endorses the CBD Online marketplace

  16 and/or Defendants’ products.

  17          83.   As a direct and proximate result of the acts of trademark infringement
  18 set forth above, Garrapata has suffered actual damages in an amount to be proven at

  19 trial.

  20          84.   Defendants acted with fraud, oppression, or malice in infringing
  21 Garrapata’s mark as alleged above. As such, in addition to the other relief sought

  22 herein, Garrapata is entitled to an award of punitive damages.

  23                              SIXTH CLAIM FOR RELIEF
  24   (Contributory Trademark Infringement – Garrapata Against Norok, Popowicz,
  25                BizX Marketing, AZ Connections, Taylor, and Does 6-30)
  26          85.   Garrapata incorporates all prior allegations of this Complaint by this
  27 reference.

  28
                                                 -16-
                                             COMPLAINT
Case 2:21-cv-00356-CJC-DFM Document 1 Filed 01/14/21 Page 17 of 19 Page ID #:17




   1        86.      Defendants Norok, Popowicz, BizX Marketing, AZ Connections,
   2 Taylor, and the Doe Defendants (collectively, the “Contributory Infringers”) have

   3 been and continue to be aware of—and have been and continue to contribute to—the

   4 infringement of Garrapata’s trademarks by Thundercom Systems and Andrews.

   5        87.      Alternatively, the Contributory Infringers remained willfully blind to the
   6 infringement of Garrapata’s trademarks by Thundercom Systems and Andrews.

   7        88.      As described herein, Contributory Infringers, and each of them,
   8 materially contributed to the primary infringement perpetrated by Thundercom

   9 Systems and Andrews by providing domestic banking and/or marketing services for

  10 Thundercom Systems and Andrews. Such domestic banking and/or marketing

  11 services were a necessary part of Defendants’ scheme to misuse Garrapata’s

  12 trademarks.

  13        89.      Garrapata has been damaged by and the Contributory Infringers have
  14 profited from the Contributory Infringers’ contributory trademark infringement.

  15        90.      To remedy the Contributory Infringers’ contributory trademark
  16 infringement, Garrapata is entitled to all of the remedies set forth above for direct

  17 trademark infringement and false endorsement.

  18                                  PRAYER FOR RELIEF
  19        WHEREFORE, Garrapata prays for judgment as follows:
  20        1.       On all Claims for Relief, for an award of actual and compensatory
  21 damages in the millions of dollars according to proof;

  22        2.       On all Claims for Relief, for the disgorgement of Defendants’ profits
  23 attributable to the infringement of Garrapata’s intellectual property rights and rights

  24 of publicity;

  25        3.       On the First and Second Claims for Relief, for an award of punitive
  26 damages in an amount sufficient to deter unlawful conduct by Defendants in the

  27 future;

  28
                                                 -17-
                                              COMPLAINT
Case 2:21-cv-00356-CJC-DFM Document 1 Filed 01/14/21 Page 18 of 19 Page ID #:18




   1        4.    On the Third, Fourth and Sixth Claims for Relief, for treble damages;
   2        5.    For preliminary and permanent injunctions restraining and enjoining
   3 Defendants, and all persons acting in concert with them, from using Mr. Eastwood’s

   4 name, images, likeness, persona, and trademarks;

   5        6.    For pre-judgment and post-judgment interest according to proof and to
   6 the maximum extent allowed by law;

   7        7.    For attorneys’ fees and costs; and
   8        8.    For such other and further relief as the Court may deem just and proper.
   9

  10

  11
       Dated: January 13, 2021                       NOLAN HEIMANN LLP
  12

  13                                                 By:__________________________
                                                     Jordan Susman
  14                                                 Attorneys for Plaintiff
                                                     Garrapata, LLC
  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                              -18-
                                           COMPLAINT
Case 2:21-cv-00356-CJC-DFM Document 1 Filed 01/14/21 Page 19 of 19 Page ID #:19




   1                             DEMAND FOR JURY TRIAL
   2        Pursuant to Local Rule 38-1, Plaintiff hereby demands a trial by jury on all
   3 issues so triable.

   4
       Dated: January 13, 2021                        NOLAN HEIMANN LLP
   5

   6                                                  By:__________________________
                                                      Jordan Susman
   7                                                  Attorneys for Plaintiff
                                                      Garrapata, LLC
   8

   9

  10

  11

  12

  13

  14

  15

  16

  17

  18

  19

  20

  21

  22

  23

  24

  25

  26

  27

  28
                                               -19-
                                           COMPLAINT
